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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11   VINCENT JOHNNY AVALOS,            )   CASE NO. ED CV 19-31-JAK (PJW)
                                       )
12                  Plaintiff,         )
                                       )   ORDER ACCEPTING REPORT AND ADOPTING
13             v.                      )   FINDINGS, CONCLUSIONS, AND
                                       )   RECOMMENDATIONS OF UNITED STATES
14   THE SUPERIOR COURT COUNTY OF      )   MAGISTRATE JUDGE
     RIVERSIDE, et al.,                )
15                                     )
                    Defendants.        )
16                                     )
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          Pursuant to 28 U.S.C. § 636, the Court has reviewed the
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     Complaint, the records on file, and the Report and Recommendation of
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     United States Magistrate Judge, and has considered de novo the
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     portions of the Report as to which objections have been filed.          The
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     Court accepts the Magistrate Judge’s Report and adopts it as its own
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     findings and conclusions.
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          IT IS THEREFORE ORDERED that the Second Amended Complaint be
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     dismissed with prejudice.
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27   Dated: June 30, 2020             _________________________________
                                      John A. Kronstadt
28                                    United States District Judge
